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  9                      UNITED STATES DISTRICT COURT
                        CENTRAL DISTRICT OF CALIFORNIA
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  11 ROBIN R. WALTON−COLE                        CASE NO:
                                                 2:20−cv−09664−FMO−GJS
  12                 Plaintiff(s),
            v.                                   ORDER DISMISSING ACTION
  13
       I.Q. DATA INTERNATIONAL, INC.             WITHOUT PREJUDICE
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  16                Defendant(s).

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  19        Having been advised by counsel that the above−entitled action has been settled,
  20   IT IS ORDERED that the above−captioned action is hereby dismissed without costs
  21   and without prejudice to the right, upon good cause shown within 45 days from the
  22   filing date of this Order, to re−open the action if settlement is not consummated.
  23   The court retains full jurisdiction over this action and this Order shall not prejudice
  24   any party to this action.

  25       IT IS SO ORDERED.
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       DATED: November 6, 2020                      /s/ Fernando M. Olguin
  27                                               Fernando M. Olguin
                                                   United States District Judge
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